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                   Commercial/Nonprofit                    Mail Product             Mail Shape

                              (1)                                (2)                    (3)
Non Profit                                            Marketing Mail            FLATS
Non Profit                                            Marketing Mail            LETTERS
Profit                                                First‐Class Mail          CARDS
Profit                                                First‐Class Mail          FLATS
Profit                                                First‐Class Mail          LETTERS
Profit                                                Marketing Mail            FLATS
Profit                                                Marketing Mail            LETTERS
Profit                                                Priority Mail             PARCELS

Sources:
(4) ‐ USPS Management
(5) ‐ FY 2019 Billing Determinants ‐ USPS‐FY19‐4
(6) ‐ FY 2019 Public CRA Report ‐ USPS‐FY19‐1
(7) = (5) ‐ (6)
(8) = (7) *(4)


Revene Forgone Impact                                 Unit Revenue Impact Revenue Impact

                                                                            (Revenue FC ‐
                                                      (Revenue FC ‐ Revenue
Formula                                                                     Revenue MM) *
                                                      MM)
                                                                            MM Vol
Revenue Shift ‐ Nonprofit MM Letters to FC Letters    $                  0.40   $       43,358,874

Revenue Shift ‐ Commercial MM Letters to FC Letters
                                                      $                  0.31   $        2,067,598
Revenue Shift ‐ Nonprofit MM Flats to FC Flats        $                  0.99   $       21,451,909
Revenue Shift ‐ Commercial MM Flats to FC Flats       $                  0.86   $        2,509,231
Total                                                                           $       69,387,612

                                                      MM Converted Volume Total Rev Impact
Weighted Average                                                139,580,696 $     69,387,612




Additional Cost Impact                                Unit Cost Impact          Cost Impact
                                                                                (Cost FC ‐ Cost
Formula                                               (Cost FC ‐ Cost MM)
                                                                                MM) * MM Vol
Cost Shift ‐ Nonprofit MM Letters to FC Letters       $                  0.22   $       23,729,731
Cost Shift ‐ Commercial MM Letters to FC Letters      $                  0.22   $        1,470,365
Cost Shift ‐ Nonprofit MM Flats to FC Flats           $                  0.57   $       12,240,105
Cost Shift ‐ Commercial MM Flats to FC Flats          $                  0.57   $        1,644,010
Total                                                                           $       39,084,210

                                                      MM Converted Volume       Total Cost Impact
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Weighted Average                                     139,580,696 $   39,084,210
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                                             Unit
Post Oct 15 Election
                       Unit Revenue      Attributable   Unit Contribution        Total Contribution
     Vol FY20
                                             Cost
         (4)               (5)                (6)           (7) = (5) ‐ (6)          (8) = (7)*(4)
          21,617,752   $         0.281   $     0.604    $              (0.324)   $       (6,993,976)
        108,345,953    $         0.119   $     0.111    $                0.01    $          826,492
          10,678,202   $         0.362   $     0.331    $               0.031    $          327,325
             403,820   $         1.273   $     1.170    $               0.103    $           41,429
          37,459,605   $         0.519   $     0.330    $               0.189    $        7,072,346
           2,903,553   $          0.41   $      0.60    $              (0.195)   $         (567,337)
           6,713,439   $          0.21   $      0.11    $               0.100    $          670,259
                  1    $          8.72   $      6.49    $               2.229    $                1
        188,122,323




Revenue Impact/Pc
 $            0.497




Cost Impact/Pc
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$   0.280
